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                   UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNS\'LVANIA

UNITED STATES OF AMERICA : No. 3:23-CR-26

            v.                              (Judge MANNION)

RACHEL SMYDEN,                              (electronically frled)
                         Defendant.

                              PLEAAGREEMENT

      The following PIea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penaltiee.         fismicsal of Other Counte
                              "r4
    1. Guiltv plea. The defendant agrees to plead guilty to Count 1 of
        the Indictment, which charges the defendant with a violation of

        Title 21, United States Code, $ 846, Conspiracy to Distribute

        Controlled Substances. The maximum penalty for that offense

        is imprisonment for a period of 20 years, a fine of $1,000,000, a

        maximum term of supervised release of life but a minimum of at

        Ieast 3 years, which shall be ser-ved at the conclusion of, and in
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     addition to, any term of imprisonment, as well as the costs of

     prosecution, imprisonment, probation, or supervised release

     ordered, denial of certain federal benefits, and an assessment in

    the amount of $100. At the time the guilty plea is entered, the

    defendant shall admit to the Court that the defendant is, in fact,

    guilty ofthe offense(s) charged in that count. After sentencing,

    the United States will move for dismissal of any remaining

    counts ofthe Indictment. The defendant agrees, however, that

    the United States may, at its sole election, reinstate any

    dismissed charges, or seek additional charges, in the event that

    any guilty plea entered or sentence imposed pursuant to this

    Agreement is subsequently vacated, set aside, or invalidated by

    any court. The defendant further agrees to waive any defenses

    to reinstatement of any charges, or to the filing of additional

    charges, based upon laches, the assertion of speedy trial rights,

    any applicable statute of limitations, or any other ground. The

    calculation of time under the Speedy Trial Act for when trial

    must commence is tolled as of the date of the defendant's
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     signing ofthis Agreement, until either (d the defendant pleads

     guiltyi or (b) a new date is set by the Court for commencement

     of trial.

 2          of Su e     d Relea   . The defendant understands that
     the Court must impose at least a 3-year term of supervised

     release but up to a lifetime of supervised release in addition to

     any term of imprisonment, fine or assessment involving this

     violation of the Controlled Substances Act. The defendant also

     understands that the Court may impose a term of supervised

     release following any sentence of imprisonment exceeding one

     year, or when required by statute. The Court may require a

     term of supervised release in any other case. In addition, the

     defendant understands that as a condition ofany term of

     supervised release or piobation, the Court must order that the

     defendant cooperate in the collection of a DNA sample if the

     collection of a sample is so authorized by law.

3            um Se    nce. The defendant und erstands that the total,

     maximum possible sentence for all charges is the combination of
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       penalties described abovei that is, 20 years in prison, frnes

       totaling $1,000,000, a maximum ljfetime of supervised release

       but at least 3 years, the costs of prosecution, denial of certain

       federal benefits and an assessment totaling 9100.

   4. No Further Prosecution. Except Tax Charses. The United
       States Attorney's Office for the Middle District of Pennsylvania

       agrees that it will not bring any other criminal charges against

       the defendant directly arising out of the defendant's

       involvement in the offense(s) described above. However,

      nothing in this Agreement wrll limit prosecution for criminal tax

      charges, if any, arising out of those offenses.

B. Fines and Aseeesments
   5. Fine. The defendant understands that the Court may impose a
      fine pursuant to the Sentencing Reform Act of 1g84. The willful

      failure to pay any fine imposed by the Court, in full, may be

      considered a breach of this Plea Agreement. Further, the

      defendant acknowledges that willful failure to pay the fine may

      subject the defendant to additional criminal violations and civil
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    penalties pursuant to Title 18, United States Code, $ 3611, et

    seq.

 6. Inmate Financial Re sponsibilitv Proeram. If the Court orders a
    fine or restitution as part ofthe defendant's sentence, and the

    sentence includes a term of imprisonment, the defendant agrees

    to voluntarily enter the United States Bureau ofPrisons-

    administered program known as the lnmate Financial

    Responsibility Program, through which the Bureau of Prisons

    will collect up to 50% ofthe defendant's prison salary, and up to

    50% ofthe balance ofthe defendant's inmate account, and apply

    that amount on the defendant's behalf to the payment of the

    outstanding fine and restitution orders.

7. Special Assessment . The defendant understands that the Court
    will impose a special assessment of 9100, pursuant to the
    provisions of Title 18, United States Code, $ 3013. No later

    than the date ofsentencing, the defendant or defendant's

    counsel shall mail a check in payment of the special assessment

    directly to the Clerk, United States District Court, Middle
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     District of Pennsylvania. If the defendant intentionally fails to

     make this payment, that failure may be treated as a breach of

     this Plea Agreement and may result in further prosecution, the

     filing of additional criminal charges, or a contempt citation.

 8. Collection of Financial Oblisations , In order to facilitate the
     collection of financial obligations imposed in connection with

     this case, the defendant consents and agrees:

     a   to fully disclose all assets in which the defendant has an

         interest or over which the defendant has control, directly or

         indirectly, including those held by a spouse, nominee, or

         other third partyi

    b. to submit to interviews by the Government regarding the
         defendant's financial statusi

         to submit a complete, accurate, and truthful financial

         statement, on the form provided by the Government, to the

         United States Attorney's Office no later than 14 davs

         following entry of the guilty pleai


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       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial status,

       e. to authorize the Government to obtain the defendant's
           credit reports in order to evaluate the defendant's ability to

           satis$r any financial obligations imposed by the Courti and

       f. to submit any financial information requested by the
           Probation Office as directed, and to the sharing offinancial

           information between the Government and the Probation

           Office.

C. Senteucing Guidelines Calculation
   9. Determ ination of Sentenc 1n Guidelines. The defendant and
       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 1, 1987,

       and its amendments (the "Sentencing Guidelines"), wiII apply to

       the offense or offlenses to which the defendant is pleading guilty.
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     The defendant understands that the Sentencing Guidelines are

     advisory and not binding on the Court. The defendant further

     agrees that any legal and factual issues relating to the

     application ofthe Sentencing Guidelines to the defendant's

    conduct, including facts to support any specific offense

    characteristic or other enhancement or adjustment and the

    appropriate sentence within the statutory maximums provided

    for by law, will be determined by the Court after briefing, a pre-

    sentence hearing, or a sentencing hearing.

 10. Acceptan ce of Resp onsibilitv- Two/Three Levels. If the

    defendant can adequately demonstrate recognition and

    affrrmative acceptance of responsibility to the Government as

    required by the Sentencing Guidelines, the Government will

    recommend that the defendant receive a two- or three-level

    reduction in the defendant's offense level for acceptance of

    responsibility. The third level, if applicable, shall be within the

    discretion of the Government under U.S.S.G. $ 3E1.1. The


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     failure ofthe Court to find that the defendant is entitled to a

     reduction shall not be a basis to void this Agreement.

 11. Specific Sentencins Guidelines Recommendations. With respect

     to the application ofthe Sentencing Guidelines to the

     defendant's conduct, the parties agree to recommend as follows:

        a. For puryoses of the U.S.S.G., the parties agree
           that the defendant is responsible for the
           dietribution o4 and poesession with intent to
           dietribute, at least 280 gams but less than 400
           grams offentanyl, a Schedule II controlled
           substance.

    Each party reserves the right to make whatever remaining

    arguments it deems appropriate with regard to application of

    the United States Sentencing Commission Guidelines to the

    defendant's conduct. The defendant understands that anv

    recommendations are not binding upon either the Court or the

    United States Probation Office, which may make different

    fintlings as to the application of the Sentencing Guidelines to

    the defendant's conduct. The defendant further understands

    that the United States will provide the Court and the United

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     States Probation Office all information in its possession that it

     deems relevant to the application of the Sentencing Guidelines

     to the defendant's conduct.

 12. A DN l'o D rra te s entence Recomm endation    At the time of

     sentencing, the United States may make a recommendation

     that it considers appropriate based upon the nature and

     circumstances of the case and the defendant's participation in

     the offense, and specifically reserves the right to recommend a

     sentence up to and including the maximum sentence of

     imprisonment and fine allowable, together with the cost of

     prosecution.

 13. Special Con    tions of Probation/Sune        sed Release. If

     probation or a term of supervised release is ordered, the United

     States may recommend that the Court impose one or more

     special conditions, including but not limited to the following:

     a   The defendant be prohibited from possessing a firearm or

         other dangerous weapon.


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     b. The defendant make restitution, if applicable, the payment
         of which shall be in accordance with a schedule to be

         determined by the Court.

     C   The defendant pay any fine imposed in accordance with a

         schedule to be determined by the Court.

     d. The defendant be prohibited from incurring new credit
         charges or opening additional lines ofcredit without

         approval ofthe Probation Office unless the defendant is in

         compliance with the payment schedule.

     e   The defendant be directed to provide the Probation Office

         and the United States Attorney access to any requested

         financial information.

     f. The defendant be confined in a community treatment
         center, halfway house, or similar facility.

     g. The defendant be placed under home confinement.
     h. The defendant be ordered to perform community service.



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     i. The defendant be restricted from working in certain types of
          occupations or with certain individuals if the Government

          deems such restrictions to be appropriate.

     j.   The defendant be directed to attend substance abuse

          counseling, which may include testing to determine whether

          the defendant is using drugs or alcohol.

     k. The defendant be directed to attend psychiatric or
          psychological s6unssling and treatment in a program

          approved by the Probation Officer.

     l.   The defendant be denied certain federal benefits including

          contracts, grants, loans, fellowships, and licenses.

     m. The defendant be directed to pay any state or federal taxes

          and file any and all state and federal tax returns as

          required by law.

 14. Destruction OrderAVaivers. The defendant further agrees,

     should the United States deem it appropriate to the destruction

     ofthe items seized during the course ofthe investigation. The

     defendant agrees that the items may be destroyed by the
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     investigative agency with or without a court order authorizing

     the destruction of the items seized. If the United States

     determines that a destruction order should be obtained, the

     defendant and defendant's counsel hereby concur in a motion for

     such an order. The defendant further agrees to waive all

     interest in the assets in any administrative or judicial forfeiture

     proceeding, whether criminal or civil, state, or federal. The

     defendant consents and waives all rights to compliance by the

     United States with any applicable deadlines under 18 U.S.C. g

     983(d. Any related administrative claim filed by the defendant

    is hereby withdrawn. The defendant agrees to consent to the

    entry of orders of forfeiture for such property and waives the

    requirements of Federal Rules of Criminal Procedure 32.2 and.

    43(a) regarding notice ofthe forfeiture in the charging

    instrument, announcement of the forfeiture at sentencing, and

    incorporation of forfeiture in the judgment.




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    D. Victims'Rights and Restitution
       15. Victims'Riehts. The defendant understands that pursuant to

           the Victim and Witness Protection Act, the Crime Victims'

           Rights Act, the Justice for All Act, and the regulations

           promulgated under those Acts by the Attorney General of the

           United States, crime victims have the fol).owing rights:

           a   The right to be reasonably protected from the accusedi

           b. The right to reasonable, accurate, and timely notice of any
I
               public court proceeding or any parole proceeding involving

               the crime, or of any release or escape of the accused;

           C   The right not to be excluded from any such public court

               proceeding, unless the Court, after receiving clear and

               convincing evidence, determines that testimony by the

               victim would be altered materially if the victim heard other

               testimony at that proceedingi

           d. The right to be reasonably heard at any public hearing in
               the Court involving release, plea, sentencing, or any parole

               proceeding. The defendant understands that the victims'
                                       t4
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         comments and recommendations at any of these proceedings

         may be different than those of the parties to this

         Agreementi

     e   The reasonable right to confer with the attorney for the

         Government irr the case. The defendant understands that

         the victims' opinions and recommendations given to the

         attorney for the Government may be different than those

         presented by the United States as a consequence of this

         Agreementi

     f. The right to full and timely restitution as provided for by
         Iaw. The attorney for the Government is required to "fuIly

         advocate the rights of victims on the issue of restitution

         unless such advocacy would unduly prolong or complicate

         the sentencing proceeding," and the Court is authorized to

         order restitution by the defendant including, but not limited

         to, restitution for property loss, economic loss, personal

         injury, or deathi

     g. The right to proceedings free from unreasonable delay; and
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     h. The right to be treated with fairness and with respect for
         the victim's dignity and privacy.

 16. Restitution. The defendant acknorvledges that, pursuant to the

     Mandatory Restitution Act of April 24, 1996, Title 18, United

     States Code, $ 36634, the Court is required in all instances to

     order full restitution to all victims for the Iosses those victims

     have suffered as a result ofthe defendant's conduct. The

     defendant also agrees that the Government will seek, and the

     Court may impose an order of restitution as to victims of the

     defendant's relevant conduct. With respect to the payment of

     restitution, the defendant further agrees that, as part ofthe

     sentence in this matter, the defendant shall be responsible for

     making payment of restitution in fuIl, unless the defendant can

     demonstrate to the satisfaction ofthe Court that the defendant's

     economic circumstances do not allow for the payment of fuIl

     restitution in the foreseeable future, in which case the

     defendant will be required to make partial restitution

     payments. In addition to the schedule of payments that may be
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     established by the Court, the defendant understands and agrees

     that, pursuant to the Mandatory Victims Restitution Act of

     1996 and the Justice For All Act of 2004, victims of federal

     crimes are entitled to full and timelv restitution. As such, these

     payments do not preclude the Government from using other

     assets or income ofthe defendant to satisfy the restitution

     obligation. The defendant understands and agrees that the

     United States Attorney's Office, by and through the Financial

     Litigation Unit, has the obligation and the right to pursue any

     legal means, including but not limited to, submission of the debt

     to the Treasury Offset Program, to collect the full amount of

     restitution owed to the victims in a timely fashion. Although

     the defendant may reserve the right to contest the amount of

     restitution owed, the defendant agrees to take all steps to

     facilitate collection of all restitution, including submitting to

     debtor's exams as directed by the Government. Towards this

     goal, the defendant agrees to waive any further notice of

     forfeiture and agrees that the United States may, at its sole
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     election, elect to pursue civil or criminal forfeiture in the

     amount of the victim restitution owed in this case, and the

     Court may enter both a restitution order and a forfeiture

     judgment in the amount of any unpaid restitution found by the

     Court to be due and owing at the time of sentencing in this

     matter. The defendant consents to the filing of any civil

     complaint or superseding information which may be necessary

     to perfect a forfeiture order and further stipulates and agrees

     that the defendant's guilty piea constitutes an admission to all

     matters legally and factually necessary for entry ofa forfeiture

     order in this case. The parties agree that the Government will

     recommend, but cannot guarantee, that any assets recovered

     through forfeiture proceedings be remitted to crime victims to

     reduce the defendanf,s restitution obligation in this case. The

     defendant acknowledges that the making of any payments does

    not preclude the Government from using other assets or income

    ofthe defendant to satisfii the restitution obligation. The

    defendant understands that the amount of restitution
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       calculated for purposes of Chapter 5 of the Sentencing

       Guidelines might be different from the amount of ioss calculated

       for purposes of Chapter 2 of the Sentencing Guidelines.

   17. Full Restitution bv Schedule. The defendant agrees to make

       full restitutron in accordance with a schedule to be determined

       by the Court.

E. Information Provided to Court and Probation OfEce
   18. Backsround Information for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

   19. Obiections to Pre'Sentence Report. The defendant understands

       that pursuant to the United States District Court for the Middle

       District of Pennsylvania's "Policy for Guideline Sentencing,"

       both the United States and defendant must communicate to the

       Probation Officer within 14 days after disclosure of the pre-
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     sentence report any objections they may have as to materiai

     information, sentencing classifications, applicable Sentencing

     Guidelines ranges, and policy statements contained in or

     omitted from the report. The defendant agrees to meet with the

     United States at least five days prior to sentencing in a good

     faith attempt to resolve any substantive differences. Ifany

     issues remain unresolved, they shall be communicated to the

     Probation Officer for inclusion in an addendum to the pre-

     sentence report. The defendant agrees that unresolved

     substantive objections will be decided by the Court after

     briefing, a pre'sentence hearing, or at the sentencing hearing,

     where the standard or proof will be a preponderance of the

     evidence, and the Federal Rules of Evidence, other than with

     respect to privileges, shall not apply under Fed. R. Evid.

     1101(d)(3), and the Court may consider any reliable evidence,

     including hearsay. Objections by the defendant to the pre-

     sentence report or the Court's rulings, will not be grounds for

     withdrawal of a plea of guilty.
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 20. Relevant Sentencins Information. At sentencing, the United

     States will be permitted to bring to the Court's attention, and

     the Court will be permitted to consider, all relevant information

     about the defendant's background, character and conduct,

     including the conduct that is the subject of the charges that the

     United States has agreed to dismiss, and the nature and extent

     of the defendant's cooperation, if any. The United States will be

     entitled to bring to the Court's attention and the Court will be

     entitled to consider any failure by the defendant to fulfrll any

     obligation under this Agreement.

 21. Non-Limitation on G overnment's Response. Nothing in this

     Agreement shali restrict or Iimit the nature or content of the

     United States' motions or responses to any motions filed on

     behalf of the defendant. Nor does this Agreement in any way

     restrict the Government in responding to any request by the

     Court for briefing, argument or presentation of evidence

     regarding the application of Sentencing Guidelines to the


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      defendant's conduct, including but not limited to, requests for

      information concerning possible sentencing departures.

F. CourtN    Bound bv Plea               ent

  22. Court No t B ound bv Terms . The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of 20 years in prison, a

      maximum fine of 91,000,000, a maximum term of supervised

      release of life but at least 3 years, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      costs of prosecution, denial of certain federal benefits, and

      assessments totaling $ 100.

  23. No W ithdrawal of Plea Base d on Sentence or Recommendations.

      If the Court imposes a sentence with which the defendant is
      dissatisfied, the defendant will not be permitted to withdraw

      any guilty plea for that reason alone, nor will the defendant be

      permitted to withdraw any guilty plea should the Court decline
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       to follow any recommendations by any of the parties to this

       Agreement.

G. Breach of Plea Agreement by Defendant
   24. Breach of Agreement. In the event the United States believes

       the defendant has failed to fulfiil any obligation under this

      Agreement, then the United States shall, in its discretion, have

       the option of petitioning the Court to be relieved of its

       obligations under this Agreement. Whether the defendant has

      completely fulfilled all of the obligations under this Agreement

      shall be determined by the Court in an appropriate proceeding,

      during which any disclosures and documents provided by the

      defendant shall be admissible, and during which the United

      States shall be required to establish any breach by a

      preponderance ofthe evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on

      statements and evidence given by the defendant during the

      cooperation phase of this Agreement, if any.



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  25. Remedies for Breach. The defendant and the United States

     agree that in the event the Court concludes that the defendant

     has breached the Agreement:

     a   The defendant will not be permitted to withdraw any guilty

         plea tendered under this Agreement and agrees not to

         petition for withdrawal of any guilty pleai

     b. The United States will be free to make any
         recommendations to the Court regarding sentencing in this

         case,

     C   Any evidence or statements made by the defendant during

         the cooperation phase of this Agreement, if any, will be

         admissible at any trials or sentencingsi

     d. The United States will be free to bring any other charges it
         has against the defendant, including any charges originally

         brought against the defendant or which may have been

         under investigation at the time ofthe plea. The defendant

         waives and hereby agrees not to raise any defense to the

         reinstatement ofthese charges based upon collateral
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         estoppel, Double Jeopardy, statute of limitations, assertion

         ofSpeedy Trial rights, or other similar grounds.

 26. Violation of Law While Plea or Sentence Pendins. The

     defendant understands that it is a condition ofthis Agreement

     that the defendant refrain from any further violations of state,

     local, or federal law while awaiting plea and sentencing. The

     defendant acknowledges and agrees that if the Government

     receives information that the defendant has committed new

     crimes while awaiting plea or sentencing in this case, the

     Government may petition the Court and, if the Court finds by a

     preponderance ofthe evidence that the defendant has

     committed any other criminal offense while awaiting plea or

     sentencing, the Government shall be free at its sole election to

     either: (d withdraw from this Agreementi or (b) make any

     sentencing recommendations to the Court that it deems

    appropriate. The defendant further understands and agrees

    that, if the Court finds that the defendant has committed any

    other offense while awaiting plea or sentencing, the defendant
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       will not be permitted to withdraw any guilty pleas tendered
       pursuant to this Agreement, and the government will be

       permitted to bring any additional charges that it may have

       against the defendant.

H. Deportation
   27. Deportation/Removal      If) the United States. The defendant

       understands that, if defendant is not a United States citizen,

       deportation/removal from the United States is a consequence of

       this plea. The defendant further agrees that this matter has

       been discussed with counsel who has explained the immigration

       consequences of this plea. The defendant still desires to enter

       into this plea after having been so advised.

I. Appeal Waiver
   28. Appeal Waiver - Direct. The defendant is aware that Title 28,

       United States Code, $ 1291 affords a defendant the right to

       appeal a judgment of conviction and sentence; and that Title 18,

       United States Code, $ 3742(a) affords a defendant the right to

       appeal the sentence imposed. Acknowledging all of this, the
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       defendant knowingly waives the right to appeal the conviction

       and sentence. This waiver includes any and all possible

       grounds for appeal, whether constitutional or non-

       constitutional, including, but not limited to, the manner in

       which that sentence was determined in light of (Jnited States v.

       Booker,543 U.S. 220 QOOil. The defendant further

       acknowledges that this appeal waiver is binding only upon the

       defendant and that the United States retains its right to appeal

       in this case

J. Other Provieione
   29. Asree ment Not Bind      e on Other A gencies. Nothing in this

       Agreement shall bind any other United States Attorney's Office,

       state prosecutor's office, or federal, state, or local law

       enforcement agency.

   30. No Civil Claims or Suits. The defendant agrees not to pursue or

       initiate any civil claims or suits against the United States of

      America, its agencies or employees, whether or not presently

      known to the defendant, arising out ofthe investigation,
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     prosecution or cooperation, if any, covered by this Agreement,

     including but not limited to any claims for attorney's fees and

     other litigation expenses arising out of the investigation and

     prosecution of this matter. By the defendant's guilty plea in

     this matter the defendant further acknowledges that the

     Government's position in this litigation was taken in good faith,

     had a substantial basis in law and fact and was not vexatious.

 31. Plea Aereement Serves Ends of Justice. The United States is

     entering this Agreement with the defendant because this

     disposition ofthe matter fairly and adequately addresses the

     gravity ofthe offense(s) from which the charge(s) is/are drawn,

     as well as the defendant's role in such offense(s), thereby

     serving the ends ofjustice.

 32. Mereer of All Prior Neeotiations. This document states the

    complete and only Agreement between the United States

    Attorney for the Middle District of Pennsylvania and the

    defendant in this case, and is binding only on the parties to this

    Agreement and supersedes all prior understandings or plea
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     offers, whether written or oral. This agreement cannot be

     modifi.ed other than in writing that is signed by all parties or on

     the record in court. No other promises or inducements have

     been or will be made to the defendant in connection with this

     case, nor have any predictions or threats been made in

     connection with this plea. Pursuant to Rule 11 ofthe Federal

     Rules of Criminal Procedure, the defendant certifies that the

     defendant's plea is knowing and voluntary and is not the result

     of force or threats or promises apart from those promises set

     forth in this Agreement.

 33. Defendant i Satisfied with Assistan e of Counsel. The

     Defendant agrees that the defendant has discussed this case

     and this Agreement in detail with the defendant's attorney, who

     has advised the defendant ofthe defendant's Constitutional and

     other trial and appellate rights, the nature of the charges, the

     elements of the offenses the United States would have to prove

     at trial, the evidence the United States would present at such

     trial, possible defenses, the advisory Sentencing Guidelines and
                                 29
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     other aspects of sentencing, potential losses of civil rights and

     privileges, and other potential consequences of pleading guilty

     in this case. The defendant agrees that the defendant is

     satisfied with the legal services and advice provided to the

     defendant by the defendant's attorney.

 34. Deadline for Acceptance of Plea Aereement. The original of this

     Agreement must be signed by the defendant and defense

     counsel and received by the United States Attorney's Office on

     or before 5:00 p.m., September 8,2023, otherwise the offer may,

     in the sole discretion of the Government, be deemed withdrawn.

 35. Required Sienatures. None of the terms of this Agreement shall

     be binding on the Office of the United States Attorney for the

     Middle District of Pennsylvania until signed by the defendant

     and defense counsel and then signed by the United States

     Attorney or his designee.




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                                    A
     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.

          7                                   ,1,         {*r,/*
   a                                          RACHEL sryvpeN
                                              Defendant \-/

        I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client's
decision to enter into this agreement                      rmed and voluntary one.
1
Date
          a"                                        lrfr. Nl"l^
                                              PETER MOSES, ESQUIRE
                                              Counsel for Defendant



                                              GERARD M. KARAM
                                              United States Attorney


Lu/rs
Date /
                                        By:
                                              MICHELLE OLSHEFSKI
                                              Assistant United States Attornev

AUSA/MLO/2023R089 Ausust 26, 2023
\,tsRSION DATE: March 8, 2021




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